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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


 HARRIET TUBMAN FREEDOM
 FIGHTERS, CORP.,
                                              Case No.: 4:21-cv-242-MW/MAF
                 Plaintiff,
                                              Consolidated for trial with
                    v.                        Case Nos. 4:21-cv-186, 4:21-cv-187,
 CORD BYRD, in his official capacity          and 4:21-cv-201
 as Florida Secretary of State, et al.,

                 Defendants,

                 and

 REPUBLICAN NATIONAL
 COMMITTEE, and NATIONAL
 REPUBLICAN SENATORIAL
 COMMITTEE,

                 Intervenor-Defendants.



 PLAINTIFF HARRIET TUBMAN FREEDOM FIGHTERS’S MOTION
         FOR DETERMINATION ON BILL OF COSTS

      Plaintiff Harriet Tubman Freedom Fighters (“HTFF” or “Plaintiff”)

respectfully moves this Court rule on Plaintiff’s bill of costs (ECF 268) and enter a

determination. In support of this motion, Plaintiff states as follows:

      1.     On April 13, 2022, Plaintiff filed a bill of costs (ECF 268) following

judgment having been entered against Defendants on March 31, 2022 (ECF 262).

      2.     On April 21, 2022, Attorney General Moody filed an unopposed motion

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to hold in abeyance proceedings related to the bill of costs until the pending appeal

was resolved (ECF 273), and an order granting the motion was entered the same day

(ECF 274). In addition, HTFF’s initial motion for attorneys’ fees (ECF 270) was

denied as moot pending final resolution of the then-pending appeal.

      3.     After the appeal was resolved, HTFF filed a Renewed Motion for

Entitlement to Attorneys’ Fees, in which it also asked the court to lift the abeyance

of its bill for costs (ECF 321 at 14). HTFF reiterated the request to lift the abeyance

of its bill for costs in its Reply in Support of Its Renewed Motion for Entitlement to

Attorneys’ Fees (ECF 326 at 4).

      4.     On May 23, 2024, this Court recognized Harriet Tubman Freedom

Fighters as the prevailing party in this action and ruled it was entitled to an award of

its reasonable attorneys’ fees and costs. ECF 327. In the Court’s ruling, it stated,

“this Court will no longer hold Plaintiff’s bill of costs, ECF No. 268, in abeyance,”

and noted, “Defendants shall file a response in opposition, if any, within fourteen

days pursuant to Local Rule 54.2(A).” Id. at 6–7. Defendants filed an opposition to

the determination of fees (ECF 337), but did not file an opposition under Rule

54.2(A) as related to taxation of costs within the fourteen days or otherwise.

      5.     Following full briefing as to the amount of attorneys’ fees to which

HTFF was entitled, this Court entered an order on February 5, 2025 awarding

Plaintiff $232,412.78 in attorneys’ fees (ECF 344). It did not address HTFF’s bill of



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costs (ECF 268).

      6.     Remaining is the issue of Plaintiff’s bill of costs (ECF 268).

      WHEREFORE, Plaintiff Harriet Tubman Freedom Fighters respectfully

requests that the Court enter a determination as to Plaintiff’s bill of costs (ECF 268).




Dated: February 26, 2025                Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to N.D. Fla. Loc. R. 7.1(B) and (C), undersigned counsel certifies

that she conferred with counsel for Defendants, who do not oppose the request for a

ruling as to Plaintiff's Bill of Costs (ECF 268).



                                        /s/ Michelle E. Kanter Cohen
                                        Michelle E. Kanter Cohen

                                        Counsel for Plaintiff




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 26, 2025, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record registered to receive

notifications.

                                        /s/ Michelle E. Kanter Cohen
                                        Michelle E. Kanter Cohen

                                        Counsel for Plaintiff




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